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 1                               UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA
 2
                                     ALEXANDRIA DIVISION
 3
     MARY THOMAS,                                  )
 4                                                 ) Case No.: 1:18-cv1494
                   Plaintiffs,                     )
 5                                                 )
            v.                                     ) Judge Claude M. Hilton
 6                                                 ) Magistrate Judged John F. Anderson
                                                   )
 7                                                 )
     CAPITAL ONE BANK (USA) N.A.,                  )
 8                                                 )
                   Defendant.                      )
 9                                                 )

10
                                     NOTICE OF SETTLEMENT
11
            Plaintiff MARY THOMAS notifies this Court that Plaintiff and Defendant CAPITAL ONE
12
     BANK (USA), N.A., have resolved all claims between them in this matter and are in the process
13
     of completing the final settlement documents and filing the appropriate dismissal pleadings. The
14
     parties request that the Court retain jurisdiction for sixty (60) days for any matters related to
15

16   completing and/or enforcing the settlement and stay all remaining discovery deadlines.

17
     Respectfully submitted the 15th day of August 2019.
18

19                                                       By: /s/ Francis A. Webb
                                                         Francis Alexander Webb
20                                                       Law Office F A Webb, PLLC
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                                                         Fairfax, VA 22030
22                                                       Tel: (703) 539-2003
                                                         Email: frank@fawebb.com
23                                                       Attorney for Plaintiff, MARY THOMAS

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                                      NOTICE OF SETTLEMENT
     Case 1:18-cv-01494-CMH-JFA Document 17 Filed 08/15/19 Page 2 of 3 PageID# 55



                                               By: /s/ Jeffrey Lohman
 1                                             Jeffrey Lohman, Bar #032315
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 4                                             Fax (714) 362-0096
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 5                                             Attorney for Plaintiff, MARY THOMAS

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                               NOTICE OF SETTLEMENT
     Case 1:18-cv-01494-CMH-JFA Document 17 Filed 08/15/19 Page 3 of 3 PageID# 56




 1                                 CERTIFICATE OF SERVICE

 2          I certify that on August 15, 2019 I filed Plaintiff MARY THOMAS’ Notice of

 3   Settlement using the CM/ECF system, which will provide notice to the following:
 4
     John D. Sadler (VA Bar No. 80026)
     BALLARD SPAHR LLP
 5
     1909 K Street, NW – 12th Floor
 6   Washington, DC 20006-1157
     Telephone: (202) 661-2200
 7   Facsimile: (202 661-2299
     Email: sadlerj@ballardspahr.com
 8   ATTORNEY TO BE NOTICED

 9

10                                                     By: /s/ Francis A. Webb
                                                       Francis Alexander Webb
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                                                       Law Office F A Webb, PLLC
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16                                                     By: /s/ Jeffrey Lohman
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                                                       Attorney for Plaintiff, MARY THOMAS
21

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                                     NOTICE OF SETTLEMENT
